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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


        DR. AMANDA LUKES, DC

                                      Plaintiff,                       Civil Case No.

               -vs.-

        KRE PUBLISHING, LLC and
        RYAN BREEN

                                     Defendants.



                       COMPLAINT FOR COPYRIGHT INFMNGEMENT


AS AND FOR A COMPLAINT against the Defendants, PlaintiffDR. AMANDA LUKES,
DC, by and through her undersigned counsel, alleges and states the following:

                                          OVERVIEW:

        1.     This is an action seeking to prohibit Defendants' ongoing and unauthorized sale

and distribution ofcopyrighted works authored by Plaintiff, and to recover damages from

Defendants resulting from their infringement ofPlaintiffs copyright.

                                           PARTIES:

       2.      PlaintiffDr. Amanda Lukes, DC, is an individual who is domiciled in Beltrami

County, Minnesota. At times relevant to this Complaint, Plaintiff conducted business under the

assumed name "Timber Essence."

       3.      Upon information and belief, Defendant KRE Publishing, LLC ("KRE

Publishing"), is a limited liability company organized and existing under the laws ofthe State of

New York, with a principal place ofbusiness at 1233 Wiley Road, Savannah, New York 13146.
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        4.      Upon information and belief, Defendant Ryan Breen is an individual domiciled in

Wayne County, New York.

        5.     Upon information and belief, Breen is an officer and member ofKRE Publishing.

        6.     Upon information and belief, KRE Publishing and/or Breen sometimes do

business under the assumed name "Simply Diffusers."

                                JURISDICITION AND VENUE:

        7.     This Court has jurisdiction over this action under 28 USC §1331 and Title 1 7 of

the United States Code.

        8.     Venue is proper in this District pursuant to 28 USC §1391(b)(l), because

Defendants both reside in this District.

                                  FACTUAL ALLEGATIONS:

       9.      Plaintiffis the author oftwo original literary works ofauthorship. The first such

work is entitled REDISCOVERING NATURE'S ESSENTIALS: A SYSTEMATIC APPROACH (the
"Standard Book"), An application for the registration ofPlaintiffs copyright for the Standard

Book was submitted to the United States Copyright Office on August 9, 2018.

       10.     Plaintiff is also the author of the original literary work REDISCOVERING NATURE' S

ESSENTIALS: A SlMPLIFIED ESSENTIAL OlL DESK REFERENCE (the "Deskbook"). An application

for the registration ofPlaintiffs copyright for the Deskbook was submitted to the United States

Copyright Office on August 9, 2018.

       11.     Beginning in September, 2015, Plaintiff and Defendants agreed in an unwritten

agreement that Defendants would publish and distribute both the Standard Book and the

Deskbook in the United States. (The Standard Book and the Deskbook are sometimes referred to

collectively as "Z)r. Lukes' Works"). Pursuant to the terms ofthat unwritten agreement,
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Defendants were to report to Plaintiffon a quarterly basis with respect to their sales ofDr.

Lukes' Works, and Plaintiffwas to receive 40% (forty percent) ofall ofDefendants' gross sales

ofDr. Lukes' Works.

       12.     Consistent with the terms ofthat unwritten agreement, beginning in late 2015,

Defendants began distributing Dr. Lukes' Works: (i) through Defendants' own website

www.krepublishing.com; (ii) as a vendor using the assumed name "Simply Diffusers" on the

website www.amazon.com; (iii) at conventions; and (iv) through other channels and methods.

       13.     Further consistent with the terms of that unwritten agreement, on or about

December 28, 2015, KRE Publishing transmitted to Plaintiffan accoimting piuporting to show

that, in the last quarter of 2015, KRE Publishing sold 6,082 copies ofDr. Lukes' Works. The

December 2015 accounting was accompanied by a payment in the amount of $5,582.27, bearing

the memo "Book Royalty October 23 - Dec 28, 2015 (Part 1)."

       14.     On or about February 5,2016, KRE Publishing made a payment to Plaintiff in the

amount of $18,984.07. The payment was not accompanied by any accounting.

       15.     On or about August 24,2016, KRE Publishing made a payment to Plaintiff in the

amount of $10,000.00 The payment was not accompanied by any accounting.

       16.     On or about September 1, 2016, KRE Publishing made a payment to Plaintiff in

the amount of$l 1,987.67. The payment was not accompanied by any accounting.

       17.     On September 9, 2016, KRE Publishing made a payment to Plaintiff in the

amount of $10,000.00. The payment was not accompanied by any accounting.

       18.     On or about October 14, 021 6, KRE Publishing made a payment to Plaintiff in the

amount of $7,279.34. The payment was not accompanied by any accounting.
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        19.      On or about January 20, 2017, KRE Publishing made a payment to Plaintiff in the

amount of $10,301.24. The January 2017 payment was accompanied by an accounting, which

purported to show that 3,858 copies ofDr. Lukes' Works had been sold in the third and fourth

quarterof2016.

        20.     Plaintiffhas received no accounting from Defendants for copies ofDr. Lukes'

Works sold in the first quarter of 2016, or the second quarter of 2016.

        21.     Plaintiff has received no payments from Defendants since January, 2017.

        22.     Defendants have not accounts for any sales of Dr. Lukes' Works since January

2017.

        23.     Upon information and belief, Defendants also offer for sale to the public a literary

work entitled Above the Wellness Line: and Introduction to Young Living Essential Oils
                             "Above the Line" includes
("Above the Line"), The work                           portions ofDr. Lukes' Works, which

are protected by Plaintiffs copyright.

        24.     On January 29, 2018, by correspondence delivered via certified mail, Plaintiff

terminated Defendants rights to sell or otherwise distribute Dr. Lukes' Works (the "Termination

Letter"). The Termination Letter stated:

                       Effective immediately, Dr. Lukes terminates any right to
                       distribute Dr. Lukes' Work, or any derivatives thereof. All
                       further sales ofDr. Lukes' Work by you or for your benefit
                       shall be deemed and unauthorized misappropriation. You,
                       and all parties claiming through you, are directed to
                       CEASE AND DESIST all further sales ofDr. Lukes'
                       Work, or any derivative, in any format.

        25.     Breen executed a receipt for the Termination Letter on January 31,2018.

        26.     Defendants continue to offer Dr. Lukes' Works for sale to the public as ofthe date

ofthis Complaint, both on www.krepublishing.com; and as a vendor on www.amazon.com.
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Upon information and belief, Defendants also continue to offer Dr. Lukes' Works for sale to the

public at conventions and through other channels and methods.

        27.      Defendants continue to display Dr. Lukes' Works publicly as ofthe date ofthis

Complaint.

        28.     Upon information and belief, Defendants have and continue to profit and derive

other financial gain through their sale and display ofDr. Lukes' Works.

                                     FIRST LEGAL CLAIM

        29.     Defendants' sale and display ofDr. Lukes' Works is in violation ofPlaintiffs

rights under 17 USC §106(3) and (4), and infringes upon those rights.

        30.     Beginning no later than January 31, 2018, Defendants' sale and display of Dr.

Lukes' Works is a willfiil violation ofPlaintiffs rights under 17 USC §106(3) and (4).

        31.     Plaintiff requests that this Court grant an Order enjoining Defendants from the

sale or distribution ofDr. Lukes' Works, pursuant to 17 USC §502.

       32.      Plaintiffrequests that this Court impound all copies ofDr. Lukes' Works now in

Defendants' possession, custody or control, pursuant to 17 USC §503.

       33.      Plaintiffrequests that this Court award judgment in favor of Plaintiff and against

Defendants, jointly and severally, for all damages suffered by Plaintiffand profits ofDefendants

attributable to the infringement ofPlaintiffs rights, pursuant to 17 USC §504.

       34.      Plaintiff requests that this Court award judgment in favor of Plaintiff and against

Defendants, jointly and severally, for Plaintiffs costs and reasonable attorneys' fees, pursuant to

17 USC §505.
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                                      SECOND LEGAL CLAIM:

          35.      By virtue of the relationship between Plaintiff and Defendants, Plaintiff trusted

Defendants to well and truthfully account for all sales ofDr. Lukes' Works in computing the

compensation due to Plaintiff.

          36.      Defendants' have not provided a full accounting for the sales of Dr. Lukes' Works

prior to Defendants' receipt ofthe Termination Letter, or after its receipt ofthe Termination

Letter.

          37.     By and through the Termination Letter, Plaintiffhas demanded an accounting, but

none has been forthcoming.

          38.     Plaintiffrequests that this Court grant an Order compelling Defendants, jointly

and severally, to provide an accounting ofall sales ofDr. Lukes' Works, and all revenues

derived therefrom.

                                       THIRD LEGAL CLAIM:

          39.     Upon information and belief, Defendants have not paid to Plaintiff 40% of all

sales ofDr. Lukes' Works.

          40.     Defendants' failure to pay Plaintiff is a breach of the unwritten agreement

between Plaintiff and Defendants.

          41.     As a consequence ofDefendants' failure to pay Plaintiff, Plaintiffhas suffered

damages in an amount that is as yet undetennined, but will be proved at trial.

          42.     Plaintiff requests that this Court award a Judgment against Defendants, jointly and

severally, and in favor ofPlaintiff, in an amount to be determined at trial.
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WHEREFORE, PlaintiffDr. Amanda Lukes, DC, requests that this Court award an Order and

Judgment granting the reliefsought in Plaintiffs First, Second and Third Legal Claims, together

with such other and further reliefas the Court may deemjust, equitable and proper.

DATED: August23,2018                               McCONVILLE, CONSIDINE,
       Rochester, New York                         COOMAN & MOMN, P.C.
                                                   Attorneysfor Plaintiff




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